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                      Exhibit A
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       Texas v. Biden Monthly Report (PRELIMINARY1 Reporting: September 1, 2021 –
                                      September 30, 2021)


(1) The total monthly number of encounters2 at the southwest border (SWB);

Encounter data includes U.S. Border Patrol (USBP) Title 8 Apprehensions3 between the ports of
entry along the SWB, Office of Field Operations (OFO) Title 8 Inadmissibles4 at land ports of
entry along the SWB, and Title 42 Expulsions5 at and between the ports of entry along the SWB.

    September 2021 as of October 4, 2021          Title 42   Title 8   Total Encounters
    Office of Field Operations                         2,115     4,371                  6,486
      El Paso Field Office                               189       319                    508
      Laredo Field Office                                706       979                  1,685
      San Diego Field Office                             993     2,896                  3,889
      Tucson Field Office                                227       177                    404
    U.S. Border Patrol                               99,684    85,507                185,191
      Big Bend Sector                                  2,286       284                  2,570
      Del Rio Sector                                 18,749    24,823                 43,572
      El Centro Sector                                 3,944       999                  4,943
      El Paso Sector                                 15,056      2,760                17,816
      Laredo Sector                                    7,906       699                  8,605
      Rio Grande Valley Sector                       26,291    28,687                 54,978
      San Diego Sector                                 9,703     3,021                12,724
      Tucson Sector                                  14,357      3,359                17,716
      Yuma Sector                                      1,392   20,875                 22,267
    Grand Total                                    101,799     89,878                191,677




1
 CBP’s month-end “lock down” of the September 2021 data is scheduled for October 15th to provide the
necessary time for quality checks and any records correction for the end-of-fiscal-year reporting for
2021. In order to comply with the Court’s order to file a report with the Court on the 15th of each month,
CBP must pull the requested data this time prior to the official lock down. Publicly available data for
September will be based on the official/locked data from the 15th, accordingly, this preliminary report
may not match the public data release due to timing of the data pull.
2
  The sum of Title 8 apprehensions/inadmissible aliens and expulsions.
3
  Apprehension refers to the physical control or temporary detainment of a person who is not
lawfully in the U.S. which may or may not result in an arrest.
4
  Inadmissible refers to individuals encountered at ports of entry who are seeking lawful
admission into the United States but are determined to be inadmissible, individuals presenting
themselves to seek humanitarian protection under our laws, and individuals who withdraw an
application for admission and return to their countries of origin within a short timeframe.
5
  Expulsions refers to individuals encountered by USBP and OFO and expelled to the country of
last transit or home country in the interest of public health under Title 42 U.S.C. 265.
                                                     1
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(2) The total monthly number of aliens expelled under Title 42, Section 1225, or under any
    other statute;

         •   Title 42 expulsions at and between the ports of entry along the SWB6

                        September 2021 as of October 4, 2021        Title 42
                        Office of Field Operations                         2,115
                          El Paso Field Office                               189
                          Laredo Field Office                                706
                          San Diego Field Office                             993
                          Tucson Field Office                                227
                        U.S. Border Patrol                               99,684
                          Big Bend Sector                                  2,286
                          Del Rio Sector                                 18,749
                          El Centro Sector                                 3,944
                          El Paso Sector                                 15,056
                          Laredo Sector                                    7,906
                          Rio Grande Valley Sector                       26,291
                          San Diego Sector                                 9,703
                          Tucson Sector                                  14,357
                          Yuma Sector                                      1,392
                        Grand Total                                     101,799

         •   Removals/Returns under Title 8

             Southwest Land Border (Based on Encounter Date)7: 4,186
                • BP Removals/Returns: 3,447
                       o Bag and Baggage8: 8
                       o Voluntary Return9: 2,034
                       o Expedited Removal: 521
                       o Reinstatement of Removal: 884
                       o Returns Pursuant to 8 U.S.C. § 1225(b)(2)(C): 0
                • OFO Removals/Returns: 739
                       o Bag and Baggage: 0
                       o Voluntary Return: 150
                       o Expedited Removal: 157

6
  Same as Title 42 expulsion data provided in response to 1 above.
7
  Indicates that the noncitizen was encountered during the reporting period (September 1, 2021 –
September 30, 2021).
8
  When a noncitizen encountered or apprehended by CBP has been previously ordered removed
by an immigration judge and the order was never executed (i.e., in absentia). The removal order
may be immediately executed by CBP or CBP may turn the noncitizen over to ICE for removal.
9
  Constitutes a request by a non-citizen to be permitted to return to their country of citizenship on
a voluntary basis, in lieu of being formally removed or placed into removal proceedings.
                                                  2
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                      o Reinstatement of Removal: 15
                      o Withdrawal of Application for Admission: 417
                      o Returns Pursuant to 8 U.S.C. § 1225(b)(2)(C): 0

(3) Defendants’ total detention capacity as well as current usage rates;

       OFO Holding Capacity – Southwest Border in Custody10


               Detention Capacity        21-Sep

                                          149
                       935
                                       (15.9%)11




10
   Represents an estimate of each cell's coded occupancy limit, as outlined in technical design
standards when constructed, multiplied by the total number of cells for all ports of entry within
each field office. This number does not account for the unique circumstances that may limit the
occupancy of a given cell (e.g., high risk, nursing/pregnant, transgender, unaccompanied minor,
etc.) nor does it reflect operational limitations that affect a port's capacity to detain. CBP’s
capacity to detain individuals in its short-term facilities depends on many factors, including:
demographics of the individual in custody; medical or other needs of individuals in custody;
ability of ICE ERO (or, if an unaccompanied child, the U.S. Department of Health and Human
Services) to transfer individuals out of CBP custody; and OFO's available resources to safely
process and hold individuals.
11
   Represents the average number of travelers in custody on a daily basis averaged over the 30-
day period, at all Southwest Border Field Office locations. Travelers include inadmissible
individuals, lawful permanent residents, asylees, refugees, and United States Citizens who are
being detained to verify wants, warrants, criminal, administrative or other judicial process.
                                                  3
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       USBP Average Daily Subjects In Custody by Southwest Border Sector12

                USBP Sector        September 2021
               Big Bend                   38
               Del Rio                  1,910
               El Centro                 338
               El Paso                  1,016
               Laredo                    597
               Rio Grande               4,230
               San Diego                 530
               Tucson                    371
               Yuma                     2,095
               Total                   11,124


(4) The total monthly number of “applicants for admission”13 under Section 1225;

         September 2021 as of October 4, 2021         Title 8
         Office of Field Operations                       4,371
           El Paso Field Office                             319
           Laredo Field Office                              979
           San Diego Field Office                         2,896
           Tucson Field Office                              177
         U.S. Border Patrol                             85,507
           Big Bend Sector                                  284
           Del Rio Sector                               24,823
           El Centro Sector                                 999
           El Paso Sector                                 2,760
           Laredo Sector                                    699

12
   U.S. Border Patrol facilities, such as stations and central processing centers, provide short-
term holding capacity for the processing and transfer of individuals encountered by agents.
Maximum facility capacity along the southwest border is approximately 4,750, which assumes a
homogenous population and full operating status at all facilities. Actual capacity fluctuates
constantly based on characteristics of in-custody population, to include demographics, gender,
criminality, etc. The average percentage of subjects in custody on a daily basis is 234.19%,
which is averaged over the 30-day period and includes all Southwest Border Sector locations.
13
   An applicant for admission is defined as “[a]n alien present in the United States who has not
been admitted or who arrives in the United States (whether or not at a designated port of arrival
and including an alien who is brought to the United States after having been interdicted in
international or United States waters).” 8 U.S.C. § 1225(a)(1). Thus, an applicant for admission
may include noncitizens that have never been encountered by CBP. At this time, CBP does not
have a mechanism to track applicants for admission in the United States that are not encountered
by CBP. CBP has included the same data as the Title 8 encounter data provided in response to 1
above.
                                                4
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           Rio Grande Valley Sector                      28,687
           San Diego Sector                               3,021
           Tucson Sector                                  3,359
           Yuma Sector                                   20,875
         Grand Total                                     89,878


(5) The total monthly number of “applicants for admission” under Section 1225 paroled
    into the United States; and
               • OFO NTA and Paroled into the U.S. on a case-by-case basis pursuant to 8
                  U.S.C. § 1182(d)(5): 2,876
               • BP Apprehensions with Parole Disposition: 20,764
               • OFO Inadmissible Aliens with Parole Disposition: 540

(6) The total monthly number of “applicants for admission” under Section 1225 released
    into the United States, paroled or otherwise.”14
               • BP Notice to Report15: 2,626
               • BP NTA-Order of Release on Recognizance: 18,353
               • OFO NTA and Paroled into the U.S. on a case-by-case basis pursuant to 8
                  U.S.C. § 1182(d)(5): 2,876
               • BP Apprehensions with Parole Disposition: 20,764
               • OFO Inadmissible Aliens with Parole Disposition: 540




14
   All numbers in reporting requirement 6 are “based on encounter date,” as defined above.
15
   Individuals who are screened by CBP, and after criminal and immigration records checks are
conducted to determine if the subject is a threat to national security or public safety, are then
released and instructed to report to U.S. Immigration and Customs Enforcement (ICE) for
continued processing.
                                                 5
